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 1   LEWIS & LLEWELLYN LLP
     Evangeline A.Z. Burbidge (CA Bar No. 266966)
 2   eburbidge@lewisllewellyn.com
     Zachary C. Flood (CA Bar No. 312616)
 3   zflood@lewisllewellyn.com
     601 Montgomery Street, Suite 2000
 4   San Francisco, California 94111
     Telephone: (415) 800-0590
 5   Facsimile: (415) 390-2127

 6   COUNCILL, GUNNEMANN & CHALLY, LLC
     Jonathan R. Chally (GA Bar No.141392); Pro Hac Vice
 7   jchally@cgc-law.com
     Jennifer R. Virostko (GA Bar No. 959286); Pro Hac Vice
 8   jvirostko@cgc-law.com
     Joshua P. Gunnemann (GA Bar No. 152250); Pro Hac Vice
 9   jgunnemann@cgc-law.com
     1201 W. Peachtree Street NW, Suite 2613
10   Atlanta, Georgia 30309
     Telephone: (404) 407-5250
11   Facsimile: (404) 600-1624

12   Attorneys for Plaintiff
     ECHOSPAN, INC.
13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15

16
     ECHOSPAN, INC.,                                Case No. 5:22-cv-01732-NC
17
                    Plaintiff/Counter-Defendant,    ECHOSPAN, INC.’S RESPONSE IN
18                                                  OPPOSITION TO MOTION FOR
             v.                                     JUDGMENT AS A MATTER OF LAW,
19                                                  NEW TRIAL, AND/OR REMITTITUR
     MEDALLIA, INC.,
20                                                  Date:     April 3, 2024
                    Defendant/Counter-Plaintiff.    Time:     11:00 a.m.
21                                                  Ctrm:     5
                                                    Judge:    Hon. Nathanael M. Cousins
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 1                                             INTRODUCTION

 2          This Motion, a kitchen-sink attempt to seek reconsideration of the Court’s prior rulings and

 3   the jury’s findings in keeping with Medallia’s unsuccessful scorched-earth litigation strategy,

 4   should be denied. Medallia repeats nearly every argument it has made at both summary judgment

 5   and at trial (indeed, many of which it never raised in a Rule 50(a) motion, as is required to find in

 6   its favor), and merely repeats the evidence it presented at those stages in the litigation. In every

 7   instance, however, Medallia fails to acknowledge—even to cite—the complete evidentiary record.

 8   That approach reveals the fundamental flaw in this Motion: Medallia, in effect, wishes away the

 9   trial and the jury’s findings, but a challenge to the sufficiency of the evidence is not an opportunity
10   to relitigate the jury’s weighing of the evidence. Instead, at this stage of the litigation, the adverse
11   jury verdict against Medallia cannot be disturbed unless there is no basis for the jury’s conclusions.
12   And, as to the issues in this litigation, that cannot be found. EchoSpan owned a trade secret,
13   identified as Trade Secret 6. Medallia misappropriated Trade Secret 6 in its attempt to compete
14   with EchoSpan in creating its own 360-degree review system, and its conduct was willful and
15   malicious. It was unjustly enriched by this misappropriation. Each of these conclusions, reached
16   by the jury, is supported by evidence, and none can be disturbed by Medallia’s Motion.
17                                    ARGUMENT AND AUTHORITY
18          The Court has already rejected the arguments made in Medallia’s Motion. Dkt. 373, Tr:
19   844:1-850:18, 1136:11-16 (denying Medallia’s Rule 50(a) motion on identical grounds to those

20   raised now). Dkts. 378 and 404. In denying Medallia’s Rule 50(a) Motion, the Court determined

21   that “a reasonable jury would have a legally sufficient evidentiary basis to find for [EchoSpan] on

22   all claims.” Dkt. 404. And the Court specifically found that “a reasonable jury could find Medallia

23   acted willfully or wantonly based on the evidence in the record.” Dkt. 378 at 8. Nothing about the

24   evidence the Court relied on has changed or diminished since those rulings. Medallia’s Motion

25   should be denied.

26   I.     RULE 50(B)’S DEFERENTIAL STANDARD PERMITS JUDGMENT AS A
            MATTER OF LAW ONLY WHEN THERE IS NO EVIDENTIARY BASIS FOR
27          THE JURY’S VERDICT.
28          The standard for a Rule 50(b) motion is “very high.” Costa v. Desert Palace, Inc., 299 F.3d
                                            1
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 1   838, 859 (9th Cir. 2002), aff’d, 539 U.S. 90 (2003). Judgment as a matter of law following trial or

 2   verdict is permitted only where there is no legally sufficient evidentiary basis upon which a

 3   reasonable jury could have found for the non-moving party. Fed R. Civ. P. 50(a). “The test is

 4   whether the evidence, construed in the light most favorable to the nonmoving party, permits only

 5   one reasonable conclusion, and that conclusion is contrary to that of the jury.” Alaska Rent-A-Car,

 6   Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 970 (9th Cir. 2013). The district court must uphold the

 7   jury’s verdict if there was any legally sufficient basis to support it. Id. (emphasis added) (citing

 8   Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 149 (2000)). As this Court has

 9   recognized, “a judgment as a matter of law is not about weaknesses, or even gaps, in a party’s
10   case.” Comet Techs. USA Inc. v. XP Power LLC, No. 20-CV-06408-NC, 2023 WL 3569838, at *2
11   (N.D. Cal. Mar. 22, 2023) (Cousins, M.J.).
12           The Court may not to weigh evidence, Reeves, 530 U.S. at 150, make credibility findings,
13   see id., or substitute its judgment for that of the jury. Id. at 153; Winarto v. Toshiba Am. Elecs.
14   Components, Inc., 274 F.3d 1276, 1283 (9th Cir. 2001). Instead, the Court must disregard all
15   evidence favorable to Medallia except evidence that the jury is required to believe (e.g.,
16   uncontroverted expert testimony on a subject that requires expert testimony). Winarto, 274 F3d at
17   1283. “This high hurdle recognizes that credibility, inferences, and factfinding are the province of
18   the jury, not this court.” Costa, 299 F.3d at 859. Medallia’s motion must be denied unless “the
19   evidence is such that, without weighing the credibility of the witnesses or otherwise considering the
20   weight of the evidence, there can be but one conclusion as to the verdict that reasonable [jurors]
21   could have reached.” Yurman Design, Inc. v. PAJ, Inc., 262 F3d 101, 108 (2nd Cir. 2001) (emphasis
22   added; internal quotes omitted). Medallia has not met this high standard.
23   II.     MEDALLIA IMPROPERLY ASKS THE COURT TO SUBSTITUTE ITS
             JUDGMENT FOR THAT OF THE JURY ON LIABILITY.
24

25           Medallia doesn’t even try to satisfy Rule 50’s “very high” bar; in fact, Medallia does not
26   describe the applicable standard beyond a single sentence of its 30-page brief. Rather than crediting
27   only EchoSpan’s evidence and drawing inferences only in EchoSpan’s favor—as it was required to
28   do—Medallia paints a picture of this case that is skewed entirely in its own favor and ignores
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 1   significant swaths of EchoSpan’s evidence. Medallia’s failure to tailor its motion to the governing

 2   standard is fatal to its arguments, discussed, in turn, below.

 3            A.     Trade Secret 6 Was Properly Identified.
 4            Medallia attempts to revive an already thrice-decided discovery dispute—the specificity of

 5   Trade Secret No. 6. A trade secret must be identified with “sufficient particularity” to separate it

 6   from general or specialized knowledge in the trade and may not rely on “catchall” phrases or

 7   categories. InteliClear, LLC v. ETC Glob. Holdings, Inc., 978 F.3d 653, 658 (9th Cir. 2020). As the

 8   Court has already determined--three different times--this standard has been met. Dkts. 116, 322,

 9   404.
10            EchoSpan provided its Supplemental Trade Secret Identification to Medallia in June 2022.
11   That disclosure described Trade Secret 6 as, “The design and organization of the user interface of
12   the EchoSpan tool for managing complex projects. The user interface allows for the support of
13   multiple survey projects simultaneously and efficiently allows for management of those projects.”
14   Dkt. 111-5. The Court found this disclosure sufficient, ruling in July 2022 that “[T]his Court
15   FINDS EchoSpan’s trade secret disclosures sufficiently particular and ORDERS discovery to
16   commence.” Dkt. 116. Medallia repeatedly requested that this Court reconsider its ruling, Dkt. 299,
17   which the Court rejected, Dkt. 322 (“This motion [seeking specificity as to trade secrets] is a
18   duplication of earlier discovery and summary judgment motions resolved by the Court.”).
19            The evidence at trial provided even greater specificity as to Trade Secret 6. Mr. Vance,
20   EchoSpan’s founder, testified that the “EchoSpan system [has] a design and organization for
21   managing projects,” which had been identified as Trade Secret 6. Tr. 450:10-12; Dkt. 111-5. That
22   Trade Secret is “the administrative tool and its interaction with the end user’s tool,” or, put another
23   way, “the mechanisms” by which the end user’s tool interacts with the confidential administrative
24   tool “in a protected way.” Tr. 450:14-25. During a demonstration of the EchoSpan system, while
25   displaying this portion of the system, Mr. Vance again described Trade Secret 6 as “the
26   administrative system. . . its overall design, its overall organization.” Tr. 487:18-488:3.
27            Mr. King, EchoSpan’s lead developer, echoed Mr. Vance’s description: “If you’re saying
28   user interface to manage projects, then we’re talking about the admin tool” -- “it is the guts of the
                                          3
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 1   system.” Tr. 912:25-913:12, 24 (consistent with EchoSpan’s trade secret disclosure, describing that

 2   user interface is the admin tool accessed through the Feedback Projects tab). This description is

 3   entirely consistent with Mr. Vance’s description of the trade secret given in his deposition, which

 4   Medallia played at length at trial. There, Mr. Vance described that Trade Secret 6 is the “capability”

 5   of the administrative side of the system that permits administrative users to create “multiple 360

 6   degree feedback or performance review projects concurrently,” which permits each concurrent

 7   review to have “their own set of everything[:] users, review content, report templates, schedules.”

 8   Dkt. 431-8, Vance Depo. 422:20-423:14.

 9          Medallia’s Motion mentions none of this evidence. But the jury heard all of it, and it is
10   substantial proof as to what exactly EchoSpan claimed to be a trade secret in Trade Secret 6, far
11   more than the minimum required to uphold the jury’s verdict. See Caudill Seed & Warehouse Co.
12   v. Jarrow Formulas, Inc., 53 F.4th 368, 382 (6th Cir. 2022) (affirming denial of Rule 50 and 59
13   motions to challenge of particularity of trade secret identification where plaintiff introduced
14   testimony describing the trade secret and explaining uniqueness of trade secret “at a level of depth
15   beyond merely listing technical concepts”); Masimo Corp. v. Apple Inc., No.
16   SACV2000048JVSJDEX, 2023 WL 5506012, at *3 (C.D. Cal. Aug. 7, 2023) (denying Rule 50(b)
17   motion concerning particularity of identification of trade secret) .
18          Documentary evidence supplements the testimony identifying Trade Secret 6. Most notable
19   is Exhibit 19, a spreadsheet created by Medallia product managers in which they copied significant
20   swaths of EchoSpan’s Trade Secret 6 and strategized how to prioritize adding those settings to their
21   build for Bank of America. Ex. 19; 914:10-915:5 (King); 1076:2-17, 10771-6 (Vance) (columns A,
22   B, and C in Exhibit 19 reflects “a replication” of “the advanced setting page in the administrative
23   tool” of Trade Secret 6); Dkt, 432-5, Kapnadak Depo. II, 165:11-166:13; Tr. 371:15-21 (Khanna).
24   Through Exhibit 19, both Medallia’s employees and the jury gained an understanding of what is
25   EchoSpan’s trade secret.
26          Medallia, contrary to this extensive fact testimony at trial, argues that Trade Secret 6 could
27   not be, and was not, reflected in Exhibit 19. Mot. at 6-7. That is simply wrong as a factual matter,
28   and a prime example of Medallia failing to construe the evidence in the light most favorable to
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 1   EchoSpan, as Rule 50 requires., at trial the jury heard evidence that Exhibit 19 reflects settings from

 2   Trade Secret 6. Tr. 1076:16-17 (Vance). They also heard testimony that these settings reflect the

 3   “core of the administrative system” that is Trade Secret 6 and drive the EchoSpan system because

 4   they dictate how the remainder of the systems’ capabilities “communicate[] with each other and

 5   drive their own functions.” 1076:19-25 (Vance); Tr. 915:21-23 (King). This is precisely the type of

 6   evidence that one would expect the jury to seize on, and it is also the kind of trial evidence that has

 7   been deemed sufficient to defeat a Rule 50 challenge to the specificity of a trade secret. See Caudill

 8   Seed & Warehouse Co., 53 F.4th at 382 (relying, in part, on documentation of trade secret in

 9   denying Rule 50(b) challenge to sufficiency of identification of trade secret).
10          Removing any doubt as to error in the jury’s finding on this issue is the Court’s direct and
11   specific instruction to the jury on the necessity of finding that Trade Secret 6 had been concretely
12   identified, Dkt. 385 (Jury Instruction #16). With that instruction, and the evidence described above,
13   Medallia’s challenge to the sufficiency of EchoSpan’s trade secret disclosure should be rejected for
14   a fourth time.
15          B.        Trade Secret 6 Is A Secret.
16          Next, Medallia raises the exact same arguments concerning the secrecy of Trade Secret 6
17   that Medallia raised at summary judgment. The Court considered and rejected those arguments
18   months ago, and denied summary judgment because they raised facts for determination by the jury.
19   Dkt. 222 at 16-19 (raising same arguments), Dkt. 275 at 3 (finding issues of fact). The jury
20   considered that same evidence and found in EchoSpan’s favor. Dkt. 389.
21                    1.     EchoSpan Introduced Evidence of The Secrecy of Trade Secret 6.
22          Mr. Vance was explicit in his testimony at trial: the “design and organization for managing
23   projects,” identified as Trade Secret 6 is “competitively sensitive” and is a “secret.” Tr. 450:10-
24   451:5; see also 493:16-25 (echoing same). The evidence presented to the jury also established the
25   security measures used to protect this trade secret. First, EchoSpan’s president testified about the
26   security requirements surrounding the authorization of trial access (including the “vet[ting]” process
27   that each applicant undergoes, including researching the business associated with the request). Tr.
28   229:14-230:12, 230:19-25 (McCall); Ex. 8. Access is not granted to use EchoSpan’s system unless
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 1   the user has agreed to the EchoSpan Terms and Conditions and its confidentiality requirements or

 2   another, equally restrictive, non-disclosure agreement. Tr. 236:19-21 (McCall); Ex. 27 (Terms and

 3   Conditions), § 19, 12; Tr. 455:13-17 (“[W]e don’t let anyone touch the tool. . . unless they’ve

 4   signed our terms and conditions or a similar confidentiality agreement.” Next, EchoSpan’s trade

 5   secret is also protected internally by its employee confidentiality requirements and the

 6   confidentiality policies set forth in its employee handbook. Tr. 462:14-463:10, 464:9-24; Exs. 12

 7   (EchoSpan employee handbook), 32 (employment agreement containing confidentiality

 8   obligations). In addition, EchoSpan’s system is also protected by a series of hardware and software

 9   safeguards that protects it from hackers. Tr. 460:9-10 (Vance); 911:3-16 (King) (describing security
10   tests performed for Bank of America). That is more than enough evidence for the jury to find in
11   EchoSpan’s favor.
12                  2.      Medallia’s Selective Recitation of Only Its Own Evidence Is Not
                            Grounds to Grant Its Motion.
13

14          In response, Medallia—again—does not even acknowledge the above testimony. It does not
15   discuss any of what EchoSpan relied on to prove Trade Secret 6’s secrecy. Instead, it merely repeats
16   the arguments, relying on the same evidence, that it presented at summary judgment and asked the
17   jury to rely on to rule in its favor. The Court (at summary judgment) and the jury (at trial) rejected
18   these arguments. Re-hashing these disputes is not enough to overturn the jury’s verdict.
19          Medallia claims, as it previously did in moving for summary judgment and at trial, that a
20   handful of outdated, “tightly curated” marketing videos for EchoSpan’s product publicize Trade
21   Secret 6. Mot. at 6, -7, 8, 9, 10-11. The only evidence concerning these YouTube videos (as
22   opposed to post hoc attorney argument concerning them), was that they do not provide more than a
23   glimpse of the capabilities of Trade Secret 6. The Court rejected this contention in denying
24   Medallia’s Motion for Summary Judgment (see Dkt. 222, raising this argument at 16; denied at Dkt.
25   275). The jury was presented with the same evidence and the same argument and, as to Trade Secret
26   6, similarly rejected it. Medallia dedicated substantial trial time to showing the videos it claims
27   publicize Trade Secret 6. There were nearly a dozen videos played, see Tr. 285:17, 286:1, 7,
28   287:19, 288:7, 19, 25, 598:8, 15, and Medallia argued that these YouTube videos revealed
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 1   EchoSpan’s Trade Secret 6, Tr. 198:5-199:9, 1196:5-7. Medallia ensured the jury had access to

 2   these videos in its deliberations. The jury found them inconsequential.

 3          These videos simply do not stack up to the sweeping and unequivocal testimony EchoSpan

 4   provided on the secrecy of Trade Secret 6. When confronted at trial with the very same evidence

 5   that Medallia touted as to public disclosure (the same evidence on which it now relies), Mr. Vance

 6   unequivocally addressed and rejected the issue. When asked whether these videos disclose what is

 7   secret about Trade Secret 6, Mr. Vance testified: “Not in its totality, not even close.” Tr. 598:2-5.

 8   He further testified that the competitively sensitive features of this trade secret were not revealed.

 9   Tr. 451:6-11 (Vance).
10          As explained multiple times, while in these videos, EchoSpan may “reveal the existence”
11   that it has certain features, it does not reveal how those features work. Tr. 451:6-11; 452:3-19
12   (Vance), 293:19-23 (McCall) (YouTube video does not permit user to experiment with settings);
13   1077:14-17 (“not the bulk of” advanced settings contained in Exhibit 19 are shown in YouTube
14   videos). The glancing screenshots visible in YouTube videos don’t reveal how to use, or
15   manipulate, their functionality, which is the secret and competitively valuable component of the
16   system. Tr. 911:21-912:23 (King). In fact, EchoSpan’s primary developer specifically testified that
17   a glimpse of the settings within Trade Secret 6 would not permit him to replicate EchoSpan’s
18   system’s functionality, but that access to the system, and the ability to use the system and operate
19   these settings (exactly what Medallia sought out and obtained) would allow it to develop a
20   competing system. Tr. 915:24-917:7 (King). And this functional ability of the features of Trade
21   Secret 6, “not just their existence,” gives EchoSpan its competitive advantage. Tr. 455:1-9; 564:3-
22   13 (“The videos are not confidential, but they’re curated in a way that we don’t reveal the totality of
23   what’s available.”); 294:1-14, 566:25-567:1 (YouTube videos shown at trial are old product).
24          The evidence further demonstrated that the functionality of EchoSpan’s system, by its very
25   nature, cannot be captured in the 30-minute YouTube video Medallia touted because it reflects the
26   interaction of hundreds of features in the system. Tr. 714:16-715:10 (Myers), 294:18-295:14
27   (McCall) (interactions of settings cannot be captured in 40-minute video). Despite Medallia’s
28   repeated attempts to characterize these videos as a full disclosure of EchoSpan’s tool, the evidence
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 1   showed they were merely, “marketing level videos” that “orient the user as to functionality” so that

 2   they can “understand what they’re getting” at a high level. Tr. 624:22-625:10. The videos do not

 3   detail the intricacies of EchoSpan’s trade secret. As EchoSpan’s expert testified: the videos of

 4   EchoSpan’s system “[is] what I call a teaser,” “it by no means is anything close to [gaining] access

 5   to the actual tool where you can exercise it, turn on the switch, and see what it actually does.” Tr.

 6   664:22-665:7 (Myers). He further testified that the nature of EchoSpan’s functionality could not be

 7   captured in a 30-minute YouTube video due to its complexity. Tr. 714:16-20, 715:1-10 (Myers).

 8          But, more importantly, Medallia’s own lead product designer provided overwhelming

 9   evidence rejecting the very same contention Medallia makes here. She testified that, having looked
10   at EchoSpan’s website and YouTube videos, it was insufficient for her purposes, “I told [my boss]
11   this is all the information I got from the website and from the YouTube videos. . . and that I got
12   limited information from there. . . I don’t think I can do this. . .. I told him there was an option for a
13   trial account, at which point he asked me to create it.” Dkt. 431-3, Kapnadak Depo. II, 254:08-
14   255:03; see also Tr. 665:12-14 (Myers) (“If [publicly available videos] had provided all of the
15   information, Ms. Kapnadak could have spent one day watching all of those videos and she would
16   have been done.”). It is hard to imagine more compelling evidence than an unqualified admission
17   from the Medallia employee tasked with developing a competing system. She viewed the same
18   videos and marketing materials Medallia now claims to reveal the entirety of Trade Secret 6; she
19   testified, even after reviewing all of that material, she still needed more; and she testified that she
20   could obtain more only through unfettered access to EchoSpan’s system. The jury, having seen the
21   evidence and argument presented by Medallia, concluded that Trade Secret 6 was a secret. Dkt. 389
22   at 6. Medallia improperly ignores this evidence, but it is more than sufficient to support the jury’s
23   verdict.
24          Relatedly, Medallia recycles its argument that software features—like what it claims Trade
25   Secret 6 to be—are not trade secrets when disseminated to users. Mot. at 7-8. Medallia cites no
26   new evidence in support of this contention; it merely repeats what the Court earlier found
27   insufficient at summary judgment, (Dkt. 222 at 19-21), and what the jury found unconvincing at
28   trial. For the reasons set forth in EchoSpan’s opposition to Medallia’s summary judgment motion,
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 1   (Dkt. 237 at 17-19), and which the Court agreed with, (Dkt. 275), this argument should be rejected

 2   yet again.

 3          There is ample evidence supporting the jury’s determination that Trade Secret 6 was a

 4   secret. Medallia merely invites the Court to substitute an alternate interpretation of the evidence

 5   presented, a result not permissible under Rule 50.

 6          C.      EchoSpan Took Reasonable Measures to Maintain The Secrecy of Trade Secret
                    6.
 7

 8          Medallia also misleadingly claims that “the record does not support” the jury’s conclusion

 9   that EchoSpan took reasonable measures to protect its trade secret. Mot. at 9. “Reasonable efforts to
10   maintain secrecy need not be overly extravagant, and absolute secrecy is not required.” AvidAir
11   Helicopter Supply, Inc. v. Rolls-Royce Corp., 663 F.3d 966, 974 (8th Cir. 2011). And “[t]rade secret
12   protection is not destroyed by the ‘usual situation’ in which secret information is shared with
13   employees or other confidants who are legally obligated, by express or implicit agreement or by
14   another duty imposed by law, to maintain its secrecy.” Diamond Power Int’l, Inc. v. Davidson, 540
15   F. Supp. 2d 1322, 1333 (N.D. Ga. 2007). As this Court has recognized, whether efforts to maintain
16   secrecy are reasonable is typically an issue of fact for resolution by the jury. Dkt. 275 at 4.
17          Medallia completely ignores extensive evidence regarding the measures EchoSpan
18   employed to protect Trade Secret 6. Medallia touts only a curated list of facts, while ignoring the
19   balance of evidence the jury actually heard. The evidence established that the only way to access
20   the full panoply of features of Trade Secret 6 is to access the full tool—access only granted to
21   specific admins at customers or to free trial users, all of whom are bound by EchoSpan’s Terms and
22   Conditions or similar confidentiality agreements. Tr. 455:10-23; 459:14-18 (describing that users
23   must agree to EchoSpan’s Terms and Conditions or, in the case of large institutional clients, non-
24   disclosure agreements), 470:23-471:4; 525:13-21 (describing how conditional trial access permits
25   user to see “the entire administrative tool”), 236:19-21 (McCall) (access is not granted to use
26   EchoSpan’s system unless the user has agreed to the EchoSpan Terms and Conditions and its
27   confidentiality requirements). And the Terms and Conditions specifically and explicitly protect the
28   confidentiality of EchoSpan’s system. Ex. 27, § 19; Tr. 467:10-19 (Vance).
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 1          The evidence also demonstrated both (1) that EchoSpan’s employees were bound to keep its

 2   proprietary information confidential under the terms of its internal policies and their employment

 3   agreements, which specifically address the confidentiality of trade secrets; and (2) that EchoSpan

 4   created hardware and software protections, including log-in controls, network firewalls, web

 5   application firewalls, intrusion detection systems, and a professional hosting system, to protect

 6   against hackers and other bad actors. Supra at 6; Tr. 567:9-10, 458:17-21. Any preview of

 7   EchoSpan’s system on its website, in YouTube video, or at a trade show has always been

 8   intentionally circumscribed so as to show only a preview of EchoSpan’s capabilities. Supra at 7-9;

 9   Tr. 269:14-16, 293:5-18 (describing that at trade shows, EchoSpan performs only “a quick demo”
10   that does not reveal trade secrets).
11          The isolated evidence Medallia cites was rejected by the jury here. Moreover, that same
12   kind of evidence has been routinely rejected by other courts considering the same issues. While
13   some courts have found that a generic confidentiality agreement contained in an employment
14   agreement is insufficient protection as a matter of law, more robust protections—including those
15   employed here, such as third-party NDAs, “IT controls,” need-to-know restrictions, password
16   requirements, firewalls and internal monitoring—raise an issue of fact as to reasonableness that
17   must be resolved by a jury. See DUSA Pharms., Inc. v. Biofrontera Inc., No. CV 18-10568-RGS,
18   2020 WL 5995979, at *2 (D. Mass. Oct. 9, 2020) (finding issue of fact as to reasonableness of
19   measures where the aforementioned controls protected claimed trade secrets). Similarly, this Court
20   has already rejected Medallia’s arguments that individual users of institutional clients did not accept
21   the Terms and Conditions at sign-on and that the Terms and Conditions do not adequately identify
22   what is confidential. Mot. at 10; see Dkt. 222 at 23-24 (raising, unsuccessfully, same arguments in
23   summary judgment motion). And the Court has already recognized the shortcomings in Medallia’s
24   challenge to the legal sufficiency of the contractual protections at issue here, including the efficacy
25   of its click-wrap Terms and Conditions. Mot at 11; see Dkt. 222 at 23 (raising, unsuccessfully, same
26   argument in summary judgment motion). The jury similarly heard—and rejected—Medallia’s
27   argument that the contractual protections contained in the Terms and Conditions were insufficient.
28   Mot. at 11-12.
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 1          The jury was instructed on this element, Dkt. 385 at 11-12 (Closing Jury Instruction No. 19),

 2   and, weighing the evidence, resolved this issue in EchoSpan’s favor on Trade Secret 6. Dkt. 389 at

 3   6. Medallia’s Motion merely asks the Court to substitute its own judgment for that of the fact finder,

 4   a result not permitted under Rule 50.

 5          D.      Trade Secret 6 Has Independent Value Based On Its Secrecy.
 6          Medallia is simply incorrect there was no evidence that Trade Secret 6 derives economic

 7   value from its secrecy. Medallia first argues that source code is the only valuable element of a

 8   software program, Mot. at 12, but that legal question has already been litigated and rejected. See

 9   Dkt. 222 at 19-20 (raising the same argument in summary judgment); Dkt. 275 (denying summary
10   judgment). Even at trial, the Court recognized that “This is not a source code case,” and rejected
11   Medallia’s attempts to inject source code issues into the proceedings. Tr. 580:24-591:5.
12          Medallia next argues that Trade Secret 6 derives its value from its function rather than its
13   secrecy, absurdly suggesting that a trade secret cannot be functional or useful in addition to being
14   secret. Mot. at 12 (an argument not previously raised). Medallia is incorrect. The evidence
15   presented to the jury established that, if not kept secret, Trade Secret 6 would (and did) “afford
16   competitors an economic advantage” and would “lose economic value,” and that it thus derived
17   value from its secrecy, not solely its functionality. WWMAP, LLC v. Birth Your Way Midwifery, No.
18   5:23-CV-243-MJF, 2024 WL 151411, at *3 (N.D. Fla. Jan. 10, 2024) (defining meaning of
19   “independent economic value” under DTSA). Indeed, the jury found that Medallia’s use of the trade
20   secret benefitted it by $11.7 million.
21          As to the value of the secrecy of Trade Secret 6, the jury heard testimony that the software
22   trial Medallia accessed permitted it to “tak[e] 20 years of [EchoSpan’s] work and [] hold it in [its]
23   hands and roll it around.” Tr. 525:13-21. Over those twenty years, EchoSpan’s developers have
24   spent “thousands of hours” developing its system. Tr. 574:22-575:1. The evidence further
25   established that because Trade Secret 6 is so important to the functionality of the system and it
26   permits the other components to function, it drives the commercial value of the system. Tr.
27   1078:24-1079:7, 1080:13-17; 1079:23-1080:3 (Vance). EchoSpan’s lead developer echoed the
28   importance of Trade Secret 6 in driving the value of EchoSpan’s system. “The admin tool is what
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 1   makes everything work,” without it, “there’s nothing that EchoSpan can deliver. Tr. 913:13-914:5

 2   (King). He further testified that the administrative tool identified as Trade Secret 6 is “the main

 3   part” of EchoSpan’s system and that “it is the guts of the system” that “gives [users] all of the

 4   options that they want.” Id. That Trade Secret 6 derives value from its secrecy is confirmed by the

 5   great lengths Medallia’s lead product designer went to in order to secure access to it and document

 6   what she learned. Dkt. 431-3, Kapnadak Depo. II, 254:11-255:03, 165:11-166:13; Ex. 19.

 7            The jury reasonably relied on this evidence in determining that, if not for its secrecy, Trade

 8   Secret 6 would (and did) “afford competitors an economic advantage” and would “lose economic

 9   value.” WWMAP, LLC, 2024 WL 151411, at *3. The jury’s conclusion that this element was met
10   should not be disturbed.
11   III.     MEDALLIA IMPROPERLY ASKS THE COURT TO SUBSTITUTE ITS
              JUDGMENT FOR THAT OF THE JURY ON DAMAGES.
12

13            Medallia next attacks the jury’s damages award to EchoSpan. Mot. at 13-18. But the Rule
14   50 standard dooms these arguments too, because substantial evidence supports the jury’s decision.
15   As an initial matter, the O2 Micro and Versata cases do not support Medallia’s claim that “[c]ourts
16   routinely grant trade-secret defendants judgment as a matter of law where, as here, the plaintiff
17   asserts multiple trade secrets.” Mot. at 13. Instead, these cases stand only for the proposition that
18   assignment of value across multiple trade secrets must be supported by evidence from which the
19   jury can determine those amounts. That happened here. Unlike those cases, the jury’s verdict here is
20   not “based only upon speculation or guesswork.” Mot. at 14. Crediting EchoSpan’s evidence and
21   disregarding all conflicting evidence, there is ample fact and admissible expert testimony showing
22   both the total amount of damages and that those damages can be appropriately apportioned to Trade
23   Secret 6.
24            A.     Medallia’s Head Start Is Supported by Evidence.
25            Medallia’s own documents demonstrate its head start benefit: building a 360-review product
26   would take substantially longer than was required by Bank of America and Medallia substantially
27   reduced that time by accessing EchoSpan’s system. A 2021 email notes that the Bank was
28   demanding a ten month build and was “not expecting a potential 2 year delay.” Ex. 69 at 2. The
                                             12
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 1   same email projects that Medallia required an estimated 18-24 months for product delivery. Id.

 2   Medallia communications during this time frame echo the impossibility of building the products for

 3   Bank of America by early 2022. Ex. 36 (Medallia was “a million miles away” from a product), Ex.

 4   38 (pace of development was “not sustainable”); Ex. 39 (Bank of America’s timeline was “too

 5   aggressive”); Ex. 48 (if Medallia did not purchase EchoSpan, Medallia’s “plan B” was to “[t]ake

 6   tequila shots until we forget”).

 7          Medallia’s own documents further demonstrate the benefit to Medallia by entering the

 8   market. To begin, Medallia’s contract with Bank of America generates                          over four

 9   years, and the “lifetime value” of providing the Bank with a 360 system would “exceed . . .
10             Dkt. 431-4, Luton Depo., 249:20; Dkt. 431-5, Cameron Depo., 252:12-18, 254:12-255:06.

11   In addition to the revenue from Bank of America, Medallia also intends to enter the broader market

12   with its 360-review system. Dkt. 431-4, Luton Depo. 255:17-24. An internal 2021 Medallia product

13   analysis identifies this market’s size at $2 billion and further projects that Medallia would generate

14   exponential revenues up to nearly $20 million in the first years after entering that market. Ex. 23 at

15   2, 16 (projecting Medallia’s revenue from 360 product at $1 million in year one, $3 million in year

16   2, $5 million in year three, and $8.5 million in year four); Tr. 399:12-16 (testifying that these

17   projections were estimates of 360 sales) (Khanna). Medallia’s former chief product officer testified

18   that these projections were “what the revenue of the employee 360 product could bring us if we’re
19   able to cross-sell this.” Tr. 368:1-22. The jury further heard testimony of the value of EchoSpan as a

20   whole, Tr. 609:16-25 (Vance), which amount Medallia confirmed was a reasonable range, Dkt.

21   431-6, Cameron Depo. 266:24-267:20. Based on this evidence, the jury could have reasonably

22   concluded that Medallia’s obtained a substantial benefit from an accelerated entry into the market

23   through its theft of EchoSpan’s trade secrets—particularly in light of evidence that a head start was

24   necessary to retaining Bank of America as a client. The jury did just that.

25          Beyond fact evidence, which is enough to support the jury’s verdict, there was also ample

26   expert testimony on damages submitted to the jury. EchoSpan’s damages expert calculated its

27   unjust enrichment damages from Medallia’s theft at $23.3 million. Tr. 790:9-12 (Ratner). He

28   calculated the Bank of America revenue and profits that Medallia received, which he determined
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 1   amounted to $11,574,146. Tr. 740:5-7 (Ratner). This amount reflects the amount Medallia was able

 2   to earn from Bank of America that it would not have been able to earn but for the misappropriation.

 3   Tr. 739:6-740:7 (Ratner). He further calculated Medallia’s head start benefit (the benefit of

 4   accessing the market sooner than it would have been able to without the trade secret theft) at

 5   $8,916,930 and saved costs (the labor costs associated with developing EchoSpan’s system) at

 6   $2,874,957. Tr. 727:20-729:19 . As to this accelerated profits from its theft, Mr. Ratner relied on

 7   Medallia’s own documents and projections to determine its profits in the marketplace from its 360

 8   system and determined that Medallia’s misappropriation would earn it an additional $2 million each

 9   year, (Tr. 743:14-745:6), based on Medallia’s market position, Medallia’s $2 billion market size
10   estimate (Ex. 23 at 2), Medallia’s own projection that it would grow from $1 million to $8.5 million
11   in revenue in 4 years, (Ex. 23 at 16), and market profitability estimates, (Tr. 744:14-750:11). Mr.
12   Ratner also testified as to how he reached his conclusions about Medallia’s $2,874,957 saved cost
13   benefit: he assessed the amount of engineering time spent developing EchoSpan’s system at the rate
14   of EchoSpan’s developer. Tr. 750:13-752:4 (Ratner). Mr. Ratner also testified that his damages
15   calculations were appropriate as they were in line with the value of the company as a whole, whose
16   primary value is its software. Tr. 752:23-754:16, 787:8-14 (Ratner). Mr. Ratner testified that none
17   of these forms of damages was connected to EchoSpan’s retention of the Bank of America
18   relationship and were still available “even if the jury believes that EchoSpan was going to lose
19   Bank of America as a customer.” Tr. 726:22-727:7; 767:25-768:10 (“Even if they were looking to
20   make a change. . . the trade secret statute allows the plaintiff to recover and disgorge those
21   profits.”). This expert testimony was in addition to the fact evidence supporting the jury’s verdict. It
22   is independently sufficient to support the total amount of the jury’s award.
23          B.      The Jury’s Allocation Of Unjust Enrichment to Trade Secret 6 Was Supported
                    By Evidence.
24

25          Medallia further claims that the jury’s allocation of $11.7 in unjust enrichment to Trade
26   Secret 6 was speculative. Mot. at 13-18. Medallia is incorrect. The jury’s award was supported at
27   trial, through both fact and expert testimony. Medallia’s argument is the same as that raised, and
28   rejected, by the Sixth Circuit court in Caudill Seed & Warehouse Co. See 53 F.4th at 389-390
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 1   (rejecting argument that jury could not have reasonably awarded damages on misappropriation of a

 2   single trade secret where “[plaintiff]’s expert assumed as part of his analysis that [plaintiff] would

 3   recover on all six alleged trade secrets, [but], [t]he jury then found no misappropriation of Trade

 4   Secrets 2 or 6.”). Because the trial evidence supports the jury’s allocation of damages, this Court

 5   should, consistent with the Sixth Circuit’s reasoning, reject Medallia’s argument as well.

 6                  1.      Fact and Expert Testimony Supported The Jury’s Allocation of
                            Damages to Trade Secret 6.
 7

 8          In Caudill, the Sixth Circuit held that even where the plaintiff’s damages model assumed

 9   misappropriation of all trade secrets, a jury may still reasonably determine the damages attributable
10   to a single trade secret when supplied the necessary information to do so. 53 F.4th at 389. There,
11   although the plaintiff’s expert’s damages model assumed appropriation of six trade secrets and the
12   plaintiff only proved damages attributable to one trade secret, the plaintiff also introduced
13   testimony that its claimed damages were all related to and driven by its Trade Secret 1. Id. The
14   Sixth Circuit rejected the defendant’s Rule 50 argument that the jury’s verdict could not rely on the
15   expert’s damages model because, it found, the jury had sufficient evidence to apportion the
16   damages projected by the model to the successful trade secret. Id. at 386, 389. (“[A]lthough
17   [plaintiff’s] expert’s damages model assumed misappropriation of all trade secrets, he testified that
18   all of [plainitff’s] research and development expenses went to broccoli seed research. That allowed
19   the jury to calculate the value of Trade Secret 1 even while finding no misappropriation of Trade
20   Secrets 2 and 6.”). A Northern District of California court has similarly held that where there is
21   evidence from which the jury can determine damages attributable to those trade secrets they find
22   misappropriated, absolute mathematical precision in apportioning those damages is not required.
23   Instead, as recognized in ATS Products Inc. v. Ghiorso, where the jury’s verdict apportioning losses
24   to the seven (of thirteen) trade secrets was supported by evidence, there was no grounds to disturb
25   that verdict. No. C10-4880 BZ, 2012 WL 253315, at *1 (N.D. Cal. Jan. 26, 2012) (noting that trade
26   secret damages “need not be calculated with mathematical precision” there must only be a
27   “reasonable basis for computing the loss”).
28
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 1          Trade Secret 6 was the “core” of the system. Like the plaintiffs in Caudill and ATS Products

 2   EchoSpan offered evidence from which the jury could determine the damages attributable to Trade

 3   Secret 6. First, Medallia’s own expert confirmed the methodology applied by the jury in Caudill:

 4   where a single trade secret drives the bulk of the damages, here the value of the software system,

 5   then it is appropriate to attribute the majority of the damages to that trade secret. Specifically, Ms.

 6   Irwin testified that trade secret damages need not be apportioned if they are inseparable but may be

 7   apportioned if the trade secrets are separable. Tr. 1055:24-1056:5, 1056:12-23. She further testified

 8   that the value among trade secrets is not, as Medallia now argues, necessarily equal among those

 9   trade secrets but that there may be a technical determination that one trade secret may drive the
10   operability of software:
11                  Q: If you had a single trade secret in a bundle. . . , without which the
                    entire software program would not work, that would be relevant to both
12                  a determination of value and separability, wouldn’t it?”
13                  A: . . . If the absence of a single feature means that all of the other
                    features can’t function, I think technically that would be true.
14

15   Id. at 1059:14-23 (Irwin). She further confirmed that both the severability of trade secrets and the
16   determination of a value driver of those trade secrets as the part of a whole is a technical
17   determination, not a question for a damages expert. Id. at 1056:20-22, 1057:6-7, 1058:16-21,
18   1058:24-1059:11 (Irwin). To make that determination, she specifically approved the testimony
19   offered here: the owner of a technology company is equipped to provide evidence of the technical
20   separability of the trade secrets. Id. 1059:6-11 (“I would assume that the owner of the company
21   would—could do that.”). EchoSpan’s damages expert echoed this testimony as well: technology
22   may have a value driver, i.e., the primary driver of value for that technology. Tr. 1100:25-1101:12.
23          Moreover, just as the plaintiff in Caudill offered that “all of manufacturer’s [claimed
24   damages of] research and development expenses went to broccoli seed research,” the subject matter
25   of the successful trade secret claim, 53 F.4th at 389, EchoSpan offered extensive testimony that
26   Trade Secret 6 controls the operability of the remaining features of EchoSpan’s system. Tr.
27   1072:15-25. The jury heard testimony that the capability of Trade Secret 6 “is the core[;] it enables
28   everything. All of the other [functions] are attached to it.” 1073:15-1074:6 (Vance). Without Trade
                                         16
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 1   Secret 6, “the rest of the features of the system would not work.” 1072:15-25 (Vance); Tr. 915:21-

 2   23 (King) (testifying that the capabilities of these settings drive the functionality of EchoSpan

 3   system), 1079:13-15 (Vance). As Mr. Vance describe it, “You can think of the admin tool as like

 4   the head of the octopus and everything else are the tentacles.” 1074:2-6 (Vance). Trade Secret 6 “is

 5   the hub and all of the other components rely on it to do their jobs.” Tr. 1078:9-13 (Vance). The rest

 6   of the tool would not work absent Trade Secret 6. Tr. 1078:14-20 (Vance) (Q: “So in the absence of

 7   trade secret number 6 and the functions associated with it, can the other features of the system work

 8   at all? A. They cannot.”). Technologically, “it’s the key that unlocks everything.” Tr. 1078:21-23,

 9   1079:10-12 (Vance). EchoSpan’s lead developer echoed the importance of Trade Secret 6 in driving
10   the value of EchoSpan’s system: “The admin tool is what makes everything work,” without it,
11   “there’s nothing that EchoSpan can deliver.” Tr. 913:13-914:5 (King). He further testified that the
12   administrative tool identified as Trade Secret 6 is “the main part” of EchoSpan’s system and that “it
13   is the guts of the system” that “gives [users] all of the options that they want.” Id.
14          As its core, Trade Secret 6 drives the value of the system. Because Trade Secret 6 is critical
15   to the functionality of the system, the evidence showed that Trade Secret 6 drives the commercial
16   value of the system. Tr. 1078:24-1079:7, 1080:13-17 (Vance). Although Medallia claims that the
17   mere premise that one part of a system is necessary for the remainder of the system to function is
18   not sufficient to establish its value, Mot. at 17, it ignores the evidence presented on this point. The
19   jury heard testimony that the remainder of the system is valueless without Trade Secret 6:
20   EchoSpan cannot sell or license any function of its system without the administrative portion
21   defined as Trade Secret 6. 1074:13-1075:15 (Vance). “It’s kind of like tires on a car, right? You
22   take the tires off your car, they do have independent value, but they just don’t do anything.” Tr.
23   1079:5-7 (Vance). Even if other capabilities have intrinsic value to EchoSpan customers, “the
24   bottom line is that none of those features have any capability at all without Trade Secret 6
25   grounding them.” Tr. 1086:11-25 (Vance). Accordingly, without Trade Secret 6, the evidence,
26   which Medallia conspicuously fails to consider, Mot. at 17, establishes that the value of the inert
27   system would be “close to zero.” Tr. 1079:23-1080:3. Rather than testimony concerning only the
28   “assessment of importance” of Trade Secret 6, (which the court found insufficient in O2 Micro) this
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 1   testimony that the value of the remaining trade secrets in an inert system would be “close to zero.”

 2   Tr. 1079:23-1080:3, provided the jury grounds to assign the entire value of the system to Trade

 3   Secret 6. As in Caudill, this testimony “allow[ed the] jury to calculate the value of misappropriation

 4   of one trade secret, even while finding no misappropriation of the others.” Id. at 393 (applying same

 5   reasoning to award of unjust enrichment damages).

 6                  2.      Apportionment Is Not Required To Determine Enrichment From
                            Misappropriation Of Unified Systems.
 7

 8          Medallia’s argument should be rejected for the additional reason that Mr. Ratner opined

 9   that, because EchoSpan’s multiple trade secrets encompassed parts of a unified system, his damages
10   model would still apply even if EchoSpan did not prevail on all of its trade secrets. Specifically, Mr.
11   Ratner testified that an analysis of the value of each claimed trade secret is not appropriate here,
12   where the technology operates interdependently and is part of a unified structure. Tr. 1099:23-
13   110011, 1105:1-10, 1105:17-1106:1. Because the software functions together, he testified, the
14   unjust enrichment flows from the success of any trade secret claims: “You don’t have to go pro rata.
15   . . It would be just the balance would go to the [successful] trade secrets.” Id. 1103:22-24 (a finding
16   that one or more claimed trade secrets was not a trade secret “wouldn’t change the damages.”).
17          Mr. Ratner’s testimony is supported by law. Apportionment is not necessary where multiple
18   trade secrets encompass “parts of a unified structure,” like EchoSpan’s system. BladeRoom Grp.
19   Ltd. v. Emerson Elec. Co., 331 F. Supp. 3d 977, 989 (N.D. Cal. 2018), vacated on other grounds, 20
20   F.4th 1231 (9th Cir. 2021). This is because “the misappropriation of any of the asserted trade
21   secrets [from a unified structure] would have caused all of the damages it sought.” Id.; see also
22   Neural Magic, Inc. v. Meta Platforms, Inc., 659 F. Supp. 3d 138, 193 (D. Mass. 2023) (rejecting
23   argument that expert opinion should be excluded for failure to apportion where expert testified that
24   defendant received benefit from use of less than all trade); Monster Energy Co. v. Vital Pharms.,
25   Inc., No. EDCV181882JGBSHKX, 2022 WL 17218077, at *19 (C.D. Cal. Aug. 2, 2022) (rejecting
26   argument that damages expert failed to apportion damages to individual trade secrets because “he
27   was not required to do so where Monster’s theory is that misappropriation of any one of the
28   [alleged] trade secrets caused [Defendants’ unjust enrichment].“). Accordingly, Medallia’s
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 1   argument should be rejected for the additional reason that Mr. Ratner “made clear that his analysis

 2   is still applicable to less than all the trade secrets.” Neural Magic, Inc., 659 F. Supp. at 193.

 3          Because of the evidence EchoSpan offered, neither O2 Micro nor Versata are applicable or

 4   persuasive here. In O2 Micro, there was no evidence from which a jury had a reasonable basis to

 5   determine the relative value among the eleven alleged trade secrets. 02 Micro Int’l Ltd. v.

 6   Monolithic Power Sys., Inc., 399 F. Supp. 2d 1064, 1076-1077 (N.D. Cal. 2005). The jury was not

 7   offered any way to attribute value to each individual trade secret—nor was there evidence, as here,

 8   that one trade secret was the “core” of a unified system. Id. And the evidence in Versata “did not

 9   give the jury the tools” to determine the relative benefit from each of several trade secrets. Versata
10   Software, Inc. v. Ford Motor Co., No. 15-11264, 2023 WL 3175427, at *16 (E.D. Mich. May 1,
11   2023), modified, No. 15-CV-10628, 2023 WL 8622001 (E.D. Mich. June 8, 2023). Not so here,
12   where—instead—the jury had fact and expert testimony from which to evaluate the value
13   attributable to Trade Secret 6. This action is significantly more analogous to Caudill Seed &
14   Warehouse Co., which rejected the same argument Medallia raises here.
15                  3.      Medallia’s Argument That Trade Secret 6 Must Control Other Trade
                            Secrets Is Incorrect.
16

17          Lastly, Medallia’s claim that because the functions that Trade Secret 6 controls were not
18   found to trade secrets themselves, Trade Secret 6 cannot have independent value, Mot. at 18, is
19   absurd. A trade secret’s value is derived from not being known or ascertainable by others who can
20   obtain economic value from the use of the information, not from its control of other trade secrets.
21   18 U.S.C. § 1839(3)(B). Google’s search algorithm is a trade secret, and it is not any less so
22   because the results it generates are not trade secrets or because it publishes those results on a
23   webpage that is not a trade secret. The evidence at trial demonstrated that Trade Secret 6 had value,
24   not because it unlocked other trade secrets, but because it controlled the entire the system (whether
25   the remainder of the system consisted of trade secrets or not). Tr. 1075:1-15 (EchoSpan could not
26   sell component parts of system without Trade Secret 6).
27

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     IV.     MEDALLIA IMPROPERLY ASKS THE COURT TO SUBSTITUTE ITS
 1           JUDGMENT FOR THAT OF THE JURY ON THE EXTENT OF MEDALLIA’S
             UNJUST ENRICHMENT.
 2
             A.      Evidence Supports the Conclusion That Medallia Was Unjustly Enriched By Its
 3                   Misappropriation.
 4           Medallia further claims that there was no evidence it was unjustly enriched by its

 5   misappropriation of Trade Secret 6. Mot. at 19. Once again omitting all evidence in support of the

 6   verdict, Medallia claims that “the record fails to support . . . any head start benefit.” Mot. at 19.

 7           As noted, Medallia’s own documents and testimony show both the necessity of access to

 8   EchoSpan’s system and the benefit it gained from it. The evidence at trial established that Medallia

 9   could not build the product that Bank of America requested on any reasonable time frame. See infra
10   at 25. So, the evidence further established, it turned to EchoSpan: a Medallia vice president directed
11   its lead product manager on this product to access a trial of EchoSpan’s system and further directed
12   her to do so to “get as much as [she could] out of this trial account.”. Dkt. 431-3, Kapnadak Depo.,
13   74:08-76:14; 32:02-32:09, 34:01-34:17, 24:19-25:02. Id. 157:06-157:10. And this was necessary
14   because Bank of America was Medallia’s largest client, and Medallia did not have a product with
15   360 functionalities at that time or the internal experience to create one. Dkt. 431-3, Kapnadak Depo.
16   39:17-41:04. Medallia’s lead product manager testified that “understand[ing] the EchoSpan
17   functionality” would “assist[]” her in meeting the Bank’s requirements.” Dkt. 431-3, Kapnadak

18   Depo. 71:01-05. The sheer amount that its product developers accessed EchoSpan’s trial supports
19   that they were benefitting from it. Tr. 515:17-18 (testifying that Medallia’s logins were

20   “excessive”).

21           Medallia also claims that it could not have been unjustly enriched by its misappropriation

22   because it has delayed its entry into the market. Mot. at 19. Unlike the cases it cites, Mot. at 19-20,

23   Medallia has developed and launched a 360-review system. Dkt. 431-4, Luton Depo. 255:20-22

24   (Medallia’s 360 system “just launched”). It cannot avoid damages for its head by delaying its entry

25   into the broader market; in such a circumstance, the wrongdoer cannot avoid the consequences of

26   its wrongdoing by “not going . . . on a marketing binge. . . during [a] lawsuit.” Tr. 770:13-771:5

27   (Ratner).

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 1          Finally, Medallia’s claim that EchoSpan’s expert did not assess Medallia’s incorporation of

 2   the settings it stole from EchoSpan, Mot. at 20, as part of Trade Secret 6 is both irrelevant and

 3   simply incorrect. Mr. Myers did assess the use of these settings. Compare Tr. 661:12-16 (describing

 4   that both EchoSpan and Medallia permit administrators to set minimum number of reviews per rater

 5   group) with Ex. 19, Row 43 (describing same setting); compare Tr. 662:5-10 (describing that both

 6   EchoSpan and Medallia contain setting that permits administrators to set minimum number of raters

 7   in a particular group) with Ex. 19, Row 40 (describing same setting). And in any event, his

 8   assessment is not necessary when the fact evidence establishes the substantial benefit Medallia

 9   received as a result of access to, and use, of Trade Secret 6.
10          B.      The Evidence Supports the Amount of Unjust Enrichment Awarded.
11          Medallia further claims that, even if it benefitted from misappropriating EchoSpan’s Trade
12   Secret 6, it should not have to compensate EchoSpan because the amount of that enrichment is not
13   supported. Mot. at 20. EchoSpan is required only to prove its damages to a reasonable estimate
14   based on a rational model, not mathematical precision. Alifax Holding Spa v. Alcor Sci. Inc., 404 F.
15   Supp. 3d 552, 574 (D.R.I. 2019) (finding damages model reasonable). And, once again, Medallia
16   simply ignores substantial evidence presented to the jury.
17          Medallia attempts to recharacterize the length of time it would take to enter the market as
18   relating only to performance management, which is claims is “a completely separate tool.” Mot. at
19   21. But that is not what the evidence at trial established: Medallia’s own former chief product
20   officer confirmed that “performance management” described the system Medallia was building for
21   the Bank—that is, the entirety of the tool that Medallia relied on access to EchoSpan to deliver. Tr.
22   366:7-8. She confirmed this in her testimony that the $2 billion market size was for “performance
23   management,” which was what Medallia was “trying to build for the Bank.” Tr. 366:12-18
24   (Khanna) (“Q: Medallia believed the market size for this performance management component of
25   the product to be $2 billion; right? A. Yes.”). Mr. Myers also testified that he analyzed the record
26   and the systems and determined “whether . . . Medallia gained a head start in building a competing
27   product.” Tr. 639:18-22; 664:4-15. Ultimately, he opined in the affirmative that Medallia gained a
28   “material head start” by accessing EchoSpan’s trial. Id. And Mr. Ratner quantified this head start
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 1   based on methodologies he described to the jury. Supra at 15. The remaining arguments that

 2   Medallia makes (Mot. at 20-22), concerning the projected length of the head start and the efforts

 3   attributable to writing source code for the misappropriated trade secret, were issues of fact raised at

 4   trial and considered and rejected by the jury. Tr. 772:22-774:15, 782:11-783:4. None of this

 5   testimony outweighs the substantial evidence as to the amount of the unjust enrichment Medallia

 6   received. Medallia’s criticism of the head start benefit is nothing more than a criticism of how the

 7   jury weighed the evidence. That Medallia disagrees with the jury’s findings of fact is no basis to

 8   grant its Motion.

 9          C.      There Is Overwhelming Evidence Of Medallia’s Willful And Malicious
                    Misappropriation and Willful, Wanton, or Grossly Negligent Breach of the
10                  Terms and Conditions.
11          Medallia separately claims that its access to and taking of EchoSpan’s information was
12   merely an “oversight,” and falsely claims that “there is no evidence that . . . Medallia intended to
13   harm EchoSpan” or that “Medallia was grossly negligent.” Mot. at 22-23. But, the Court has
14   already ruled that, “a reasonable jury could find Medallia acted willfully or wantonly based on the
15   evidence in the record.” Dkt. 378 at 8. This ruling alone is sufficient to reject Medallia’s arguments
16   that EchoSpan is not entitled to exemplary damages and that the exculpatory clause of the Terms
17   and Conditions applies to Medallia’s conduct.
18          Not only did the evidence at trial support the jury’s conclusions, but the jury also
19   specifically found by clear and convincing evidence that Medallia’s actions were “willful and
20   malicious” in misappropriating EchoSpan’s trade secret. Dkt. 389 at 9 (answering in the affirmative
21   that the jury determined “by clear and convincing evidence that Medallia’s improper acquisition or
22   use of EchoSpan’s trade secret(s) was willful and malicious”); 18 U.S.C. § 1836(b)(3)(C);
23   O.C.G.A. § 10-1-763(c) (requiring willful or malicious conduct to award exemplary damages). And
24   the same conduct supports the jury’s finding that Medallia breach of the Terms and Conditions was
25   willful, wanton, or grossly negligent. Dkt. 389 at 9 (answering in the affirmative that “Medallia’s
26   breach [was] willful or wanton or grossly negligen[t].”).
27          The jury’s conclusion was based on ample evidence, both direct and circumstantial. The
28   product manager who created the trial access testified by deposition about her concern in creating a
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 1   trial account. She sought, and obtained, explicit approval from a Medallia vice president before

 2   creating the trial access to EchoSpan’s system because she “didn’t want Medallia to later say [she]

 3   shouldn’t have . . . sought out access to the trial account.” Dkt. 431-3, Kapnadak Depo. II, 76:06-

 4   76:14, 96:22-97:02 (“Q. [Y]ou were told to access the trial account by your boss, right? A. That’s

 5   correct.”), 122:03-122:07. She was not the only person who thought her use of EchoSpan’s trial was

 6   dubious. The Medallia vice president consulted with two other Medallia executives and before

 7   subsequently confirming the instruction to access a trial account. Ex. 45. The product manager

 8   testified that she was “glad to have found that [her supervisor] had confirmed [his approval] in

 9   writing” because of her concern that the company would later claim she was acting without
10   authority. Id. 77:07-77:20. A screenshot of this approval is the only document she took with her
11   when she left Medallia. Dkt. 431-2, Kapnadak Depo. I, 189:14-189:22.
12          The jury considered Medallia’s chief product officer’s concern about the trial account: this
13   c-suite executive called the product manager on her cell phone, which was unusual, to inquire about
14   the trial account but distanced herself from the trial access saying that she “didn’t want to have
15   anything to do with it;” she “said she did not want access [and] she did not want [the product
16   manager] forwarding any e-mails to her.” Dkt. 431-3, Kapnadak Depo. II, 78:10-85:03, 23:02-
17   23:17, 86:11-87:11, 86:22-87:18. This “set off red flags” with the product manager because it
18   indicated that “what was done was perhaps not correct or rightfully done” and that the chief product
19   officer “didn’t want to be involved in it.” Id. 23:11-24:18. The jury could have reasonably
20   concluded from this evidence that these Medallia employees acted, at a minimum, willfully and
21   with gross negligence.
22          Further, Medallia’s desperation to secure this “critical” project and satisfy its largest
23   customer at all costs was also evident at trial. Tr. 347:17-21 (Khanna). Bank of America was
24   Medallia’s largest client (approximately one and a half times its next largest customer) and had
25   been for four years. Dkt. 431-4, Luton Depo. 17:03-18:04. Moreover, as Medallia was attempting to
26   secure this business from Bank of America, it was simultaneously positioning itself for acquisition
27   by the private equity firm Thoma Bravo for $6.4 billion. Tr. 345:3-346:16 (Khanna). The Bank’s
28   requirements, though, were beyond Medallia’s capabilities in the time frame the Bank required.
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 1   Dkt. 431-3, Kapnadak Depo. II, 210:13-211:03 (agreeing that “there’s no way we will launch

 2   something in January that will be satisfactory.”); Dkt. 431-2, Kapnadak Depo. I, 113:07-113:12

 3   (admitting that she accessed EchoSpan “to understand the functionality because, as I said, I did not

 4   have experience in 360 product at all, so I did not understand their requirements or how it had to be

 5   built or any of that.”). Medallia’s senior executives determined that they were “a million miles

 6   away” from being able to satisfy the Bank’s 360 requirements which were on “too aggressive of a

 7   timeline” to meet. Tr. 337:1-12, 389:19-340:1, 393:17-394:3 (Khanna). And, prior to accessing

 8   EchoSpan’s system, the lead product manager informed her superior she could not develop the

 9   product due to her lack of experience, Dkt. 431-3, Kapnadak Depo. II, 254:11-255:03 (“I’m not an
10   expert in this. . . . I don’t think I can do this, and I don’t think we can build this based on the
11   information.”), and her team’s efforts to do so were “not sustainable” because of the lack of support
12   from senior leaders. Dkt. 381-3, Kapnadak Depo. II, 225:03-226:11; Ex. 38 at 4.
13          The evidence demonstrated that the difficulty of development, together with Medallia’s
14   desperation to meet the Bank’s demands led Medallia to EchoSpan, including: accessing
15   EchoSpan’s free trial, disseminating that access trial to the 360 product development team and
16   encouraging them to use it, Dkt. 431-3, Kapnadak Depo. II, 134:10-135:09 (“I think that the team
17   that was working on it could benefit from looking at it.”), 136:15-16, (sharing login credentials to
18   EchoSpan system); Ex. 37 (“I added you as an admin to EchoSpan.”); exercising the system to
19   understand the functionality of the tool and “see[] how the whole process works” and documenting
20   those findings, Dkt. 431-3, Kapnadak Depo. II, 159:13-17, 160:03-10, 161:05-161:17 (“Q: You
21   wanted to take the screenshots is so that you would have the ability to access some of this
22   information after you lost the trial account access, correct? A. Yes.”), 169:08-169:15; Tr. 253:17-
23   254:3, Ex. 26 (screenshots of EchoSpan’s system); Ex. 46 (“I . . . took a bunch of screenshots”); Tr.
24   378:14-21); documenting the settings within Trade Secret 6 and determining the priority of those
25   settings, Ex. 19; Dkt. 431-3, Kapnadak Depo. II, 165:11-166:13; Tr. 371:15-21 (Khanna); 1076:2-
26   17, 10771-6 (Vance) (columns A, B, and C in Exhibit 19 reflects “a replication” of “the advanced
27   setting page in the administrative tool” of Trade Secret 6).
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 1           In addition, in its desperation to satisfy Bank of America’s demand, Medallia entered into

 2   acquisition discussions with EchoSpan but intentionally concealed from EchoSpan that it was doing

 3   so to provide those 360 review capabilities to the Bank. Dkt. 431-3, Kapnadak Depo. II, 227:15-

 4   228:02 (“Q. Okay. In fact, you thought EchoSpan was -- and its product was a good option to

 5   consider for an acquisition, right? A. Yes.”); Tr. 341:22-342:4 (Khanna) (customer retention at risk

 6   with acquisition other than EchoSpan); Medallia Tr. 427:5-9; 891:22-892:6; Ex. 22 (“BAC has

 7   NOT told Echospan yet. . . we obviously don’t want that to come from us.”).

 8           Contrary to Medallia’s representation that there was “no evidence” of its wrongful conduct,

 9   there was “clear and convincing” evidence to support the conclusion the Medallia’s conduct met the
10   culpability standards and no ground to reverse the jury’s award.
11   V.      THE JURY’S EXEMPLARY DAMAGES AWARD IS APPROPRIATE.
12           Beyond improperly ignoring evidence of the willful and malicious misconduct (supra,
13   Section IV.C), Medallia’s objection to the exemplary damages award, Mot. at 25, is just a rehash of
14   arguments Medallia has already lost twice. See Dkts. 271, 416. The Court has already denied
15   Medallia’s motion requesting that the Court independently determine exemplary damages and
16   addressed the propriety of the jury determining exemplary damages. Dkt. 437. And both the Court’s
17   instructions to the jury, Dkt. 385, Instruction 26, and the law which permits exemplary damages of
18   twice the award of actual damages, see 18 U.S.C. § 1836(b)(3)(C); O.C.G.A. § 10-1-763(b), deem
19   this amount of exemplary damages entirely appropriate.
20   VI.     MEDALLIA IS NOT ENTITLED TO A NEW TRIAL OR REMITTITUR.
21           As a final Hail Mary, Medallia argues that the Court should find the jury’s unjust
22   enrichment and exemplary damages awards “excessive,” and either order a new trial on damages or
23   impose a remittitur of one-tenth to one-twentieth of the jury’s actual award. As with the rest of
24   Medallia’s Motion, these arguments do not withstand scrutiny.
25           Where a party seeks a new trial based on the amount of a jury’s damages award, the court
26   must “allow substantial deference to a jury’s finding of the appropriate amount of damages.” Del
27   Monte Dunes at Monterey, Ltd. v. City of Monterey, 95 F.3d 1422, 1435 (9th Cir. 1996), aff’d, 526
28   U.S. 687. Rule 59 is not the proper vehicle for merely challenging the sufficiency of the evidence,
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 1   a Rule 50(b) motion is the only proper way to assert such a challenge. Unitherm Food Sys., Inc. v.

 2   Swift-Eckrich, Inc., 546 U.S. 394, 400 (2006). As Medallia’s own authority states, “[w]hen the

 3   court, after viewing the evidence concerning damages in a light most favorable to the prevailing

 4   party, determines that the damages award is excessive, it has two alternatives. It may grant

 5   defendant's motion for a new trial or deny the motion conditional upon the prevailing party

 6   accepting a remittitur.” Fenner v. Dependable Trucking Co., Inc., 716 F.2d 598, 603 (9th Cir. 1983)

 7   (italics added); see Mot. 25 (citing id.).

 8           A.      The Unjust Enrichment Award Is Not Excessive
 9           First, Medallia’s cursory, twelve-line argument that the jury’s unjust enrichment award was
10   excessive merely incorporates by reference Medallia’s misguided Rule 50(b) arguments regarding
11   apportionment, see Mot. at 26 (referencing “Part II” of Medallia’s brief), and should be rejected for
12   the same reason: Ample evidence supports the jury’s damages verdict. See supra Section IV.C
13   (detailing extensive trial evidence supporting the jury’s damages award).
14           B.      The Exemplary Damages Award Is Not Excessive
15           Next, although the DTSA and GTSA both explicitly permit exemplary damages of up to
16   twice the amount of unjust enrichment damages, Medallia argues that the jury’s exemplary damages
17   award here—only 1.2 times greater than its unjust enrichment award—was so “grossly excessive”
18   that it violates the Due Process Clause of the Fifth Amendment and must be thrown out. Medallia
19   has no support for this wild demand, which represents just the latest attempt to take the issue of
20   exemplary damages away from the jury.
21           Medallia stretches in applying the standard set by the Supreme Court in State Farm Mut.
22   Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003), because the whole purpose of constitutional limits
23   on common law punitive damages “is that ‘[e]lementary notions of fairness enshrined in our
24   constitutional jurisprudence dictate that a person receive fair notice not only of the conduct that will
25   subject him to punishment, but also of the severity of the penalty that a State may impose.’” Id. at
26   417. Both the DTSA and GTSA explicitly give such notice: expressly permit exemplary damages of
27   up to twice the damages in cases where trade secrets were “willfully and maliciously
28   misappropriated”—a factual finding the jury definitively made. It does not make sense to graft the
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 1   State Farm standard onto these statutorily prescribed remedies. That mismatch explains why

 2   Medallia fails to cite a single trade secret case from within the Ninth Circuit or from any other

 3   jurisdiction in which an award of exemplary was found so unconstitutionally “excessive” under

 4   State Farm as to warrant a new trial on damages. Indeed, Medallia cites only a single trade secret

 5   case in which a court has even analyzed exemplary damages under the State Farm standard—the

 6   S.D.N.Y. decision in the titanic case of Syntel Sterling Best Shores Mauritius Limited. v. TriZetto

 7   Group, Incorporated. See Mot. at 26. There, the court applied the State Farm analysis while relying

 8   on federal common law to remit a jury award of over half a billion dollars in exemplary damages to

 9   only $284 million in exemplary damages. See Syntel Sterling Best Shores Mauritius Ltd. v. TriZetto
10   Grp., Inc., No. 15 CIV. 211 (LGS), 2021 WL 1553926, at *11 (S.D.N.Y. Apr. 20, 2021)
11   (subsequent history omitted). This case could not be more different.
12          Even assuming, arguendo, that State Farm provides the proper lens for evaluating an
13   exemplary award, all three of the State Farm factors—(1) the reprehensibility of Medallia’s
14   conduct, (2) the ratio of “punitive” to normal damages, and (3) comparable civil penalties—all
15   weigh heavily in favor of the reasonableness of the jury’s award here.
16          Reprehensibility. To consider the first State Farm factor the Court need look no further than
17   the jury’s factual finding that Medallia acted with “willful and malicious” intent. For its part,
18   Medallia misapplies State Farm’s reprehensibility analysis in an artificial and absurd manner that
19   would seem to preclude an award of exemplary damages in any trade secret case. To start with,
20   Medallia suggests that exemplary damages are excessive and improper here because Medallia was
21   found liable for only “economic wrongdoing, not physical harm” and because EchoSpan is “a
22   multimillion dollar corporation” and not “among the financially vulnerable, i.e. ‘the elderly, the
23   poor, and other consumers . . . most vulnerable to trickery or deceit.’” Mot. at 27. EchoSpan
24   respectfully submits that the inclusion of exemplary damages provisions in these trade secret
25   statutes would be effectively meaningless if such damages were available only where trade secret
26   misappropriation involved physical violence against the poor and elderly.
27          Medallia’s remaining arguments are nothing more than a blatant attempt to retry the facts of
28   this case and ignore the jury’s verdict on liability and its explicit determination that Medallia’s
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 1   misappropriation of EchoSpan’s trade secrets “was willful and malicious.” Dkt. 389 at 9, Question

 2   52. Contrary to Medallia’s self-serving characterizations, the trial record plainly demonstrates that

 3   Medallia’s conduct was reprehensible. See supra, Section IV.C.

 4          Ratio. The 1.2:1 ratio of exemplary to regular damages here further supports the

 5   reasonableness of the jury’s award—particularly where the DTSA and GTSA expressly provide for

 6   exemplary awards of up to double regular damages. Medallia argues that no exemplary damages are

 7   available here as a matter of law because the jury awarded unjust enrichment instead of lost profit

 8   damages and, “[w]ithout any showing of actual harm, EchoSpan is not entitled to any award of

 9   exemplary damages.” Mot. at 28. But this claim is incompatible with the plain language of the
10   DTSA and GTSA, as well as the cases Medallia cites in its Motion. DTSA Section 1836 permits an
11   award of “exemplary damages in an amount not more than 2 times the amount of the damages
12   awarded under subparagraph (B).” 18 U.S.C. § 1836(b)(3). That “subparagraph (B)” explicitly
13   permits damages for “ “any unjust enrichment.” Id. Courts have interpreted this language to mean
14   that exemplary damages may be double any type of damage awarded, “regardless of which one.”
15   Syntel Sterling, 2021 WL 1553926, at *10; see also Mattel, Inc. v. MGA Ent., Inc., 801 F. Supp. 2d
16   950, 955 (C.D. Cal. 2011) (finding “no precedent that prohibits the doubling” of an $85 million
17   unjust enrichment award). That the jury chose to award damages for unjust enrichment has no
18   bearing on the availability of exemplary damages. Indeed, the jury could have awarded up to $23.4
19   million in purely exemplary damages under both the DTSA and GTSA. Instead, the jury chose to
20   award less than 60% of that amount. The jury’s restraint undercuts any claim that its award was
21   “excessive.”
22          Comparable Civil Penalties. The availability of up to a 2:1 ratio of exemplary to regular
23   damages under the DTSA and GTSA strongly suggests that the jury’s decision to award only
24   slightly more than a 1:1 ratio of such damages was reasonable.
25          C.      There Are No Grounds For Remittitur
26          Medallia argues that even if the jury’s damages award was not unconstitutionally
27   “excessive” under State Farm and does not warrant a new trial, the Court should nevertheless remit
28   that award to one-tenth or one-twentieth of what the jury actually awarded. These remittitur
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 1   arguments are nothing more than a repackaging of the same apportionment and “excessive” award

 2   arguments made elsewhere in Medallia’s Motion. See Mot. at 30. The Court should reject these

 3   arguments once again, for the same reasons.

 4                                            CONCLUSION

 5          Medallia’s Motion should be denied in its entirety.

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     Dated: April 1, 2024         COUNCILL, GUNNEMANN & CHALLY, LLC
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 8                                        By: /s/ Jonathan R. Chally
                                                  Jonathan R. Chally (GA Bar No.141392)
 9                                                (Pro Hac Vice)
                                                  Jennifer R. Virostko (GA Bar No. 959286)
10                                                (Pro Hac Vice)
                                                  Joshua P. Gunnemann (GA Bar No. 152250)
11                                                (Pro Hac Vice)
12                                        LEWIS & LLEWELLYN LLP
13                                                 Evangeline A.Z. Burbidge (CA Bar No. 266966)
                                                   Zachary C. Flood (CA Bar No. 313616)
14
                                          Attorneys for Plaintiff/Counter-Defendant EchoSpan, Inc.
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